                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 STATESVILLE DIVISION
                      CRIMINAL ACTION NO. 5:19-CR-00013-KDB-DCK

 UNITED STATES OF AMERICA,


     v.                                                           ORDER

 DAVID ALEXANDER CULVER,

                    Defendant.


          THIS MATTER is before the Court on Defendant’s pro se Motion for Compassionate

Release pursuant to 18 U.S.C. § 3582(c)(1)(A). (Doc. No. 48). Defendant seeks compassionate

release arguing he faces a heightened risk of contracting COVID-19 while incarcerated at Fort Dix

FCI and that, due to his pre-existing medical conditions, he faces a heightened risk of a severe case

of COVID-19 if he were to contract the virus.

          Defendant received his first dose of the COVID-19 vaccine on March 11, 2021.1 (Doc. No.

57). The CDC reports that vaccinations protect individuals from getting sick with COVID-19,

Myths         and    Facts   about    COVID-19       Vaccines,     CDC       (Mar.     11,    2021),

https://www.cdc.gov/coronavirus/2019-ncov/vaccines/facts.html, and “may also help keep you

from getting seriously ill even if you do get COVID-19,” Benefits of Getting a COVID-19 Vaccine,

CDC (Jan. 5, 2021) https://www.cdc.gov/coronavirus/2019-ncov/vaccines/vaccine-benefits.html.

The CDC also notes that vaccines currently available in the United States have been shown to be

“highly effective” at preventing COVID-19. Id.


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          A second dose of the vaccine is administered approximately three to four weeks after the
first dose. Three weeks from the date of Defendant’s first dose is April 1, 2021, which means
Defendant should receive his second dose this week or sometime in the immediate future.


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       The vaccine addresses Defendant’s concerns about contracting COVID-19 and his

purported risk of severe illness should he contract the virus. Because Defendant’s vaccination

significantly mitigates the risk of contracting COVID-19, Defendant cannot establish an

“extraordinary and compelling” reason for compassionate release based on his concerns about

contracting the virus. As such, Defendant’s Motion will be denied.

       IT IS THEREFORE ORDERED that Defendant’s Motion for Compassionate Release

pursuant to 18 U.S.C. § 3582(c)(1)(A), (Doc. No. 48), is DENIED.


                                     Signed: April 1, 2021




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